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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                   4:13CR3003
       vs.
                                                         MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,

                       Defendant.


       Defendant has moved to continue the pretrial motion deadline, (filing no. 19), and the
trial setting, (filing no. 20), because defense counsel is out of the country at this time, needs
additional time to review this case and confer with the defendant before deciding if pretrial
motions should be filed, and the parties are engaged in plea discussions. The motion to continue
is unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motions to continue, (filing nos. 19 and 20), are granted.

       2)     Pretrial motions and briefs shall be filed on or before August 2, 2013.

       3)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
              Nebraska, at 9:00 a.m. on August 27, 2013, or as soon thereafter as the case may
              be called, for a duration of four (4) trial days. Jury selection will be held at
              commencement of trial.

       4)     The ends of justice served by granting the motions to continue outweigh the
              interests of the public and the defendant in a speedy trial, and the additional time
              arising as a result of the granting of the motions, the time between today’s date
              and August 27, 2013, shall be deemed excludable time in any computation of time
              under the requirements of the Speedy Trial Act, because despite counsel’s due
              diligence, additional time is needed to adequately prepare this case for trial and
              failing to grant additional time might result in a miscarriage of justice. 18 U.S.C.
              § 3161(h)(7)(A) & (B).

       June 4, 2013.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
